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NVB 5075 (Rev. 1/19)


                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA


 IN RE:                                                          BK−21−14486−abl
                                                                 CHAPTER 7
 INFINITY CAPITAL MANAGEMENT, INC.
      dba INFINITY HEALTH CONNECTIONS

                                                                 NOTICE OF DOCKETING
                                    Debtor(s)                    ERROR




NOTICE IS ORDERED that the following docket entry requires correction:

           Docket Number/Entry:                 243 − Notice of Hearing ON JOINT MOTION TO ENFORCE
                                                COURT ORDERS AND REQUIRE PREVA ADVANCED
                                                SURGICARE THE WOODLANDS LLC TO REMIT PAYMENTS
                                                RELATING TO ACCOUNTS RECEIVABLE Hearing Date:
                                                10/03/2022 Hearing Time: 9:30 a.m. with Certificate of Service
                                                Filed by BART K. LARSEN on behalf of HASELECT−MEDICAL
                                                RECEIVABLES LITIGATION FINANCE FUND
                                                INTERNATIONAL SP (Related document(s)241 Motion to
                                                Enforce filed by Creditor HASELECT−MEDICAL
                                                RECEIVABLES LITIGATION FINANCE FUND
                                                INTERNATIONAL SP) (LARSEN, BART)
           Filed On:                            8/22/22
           With A Hearing Date Of:              10/3/22
           And A Hearing Time Of:               9:30 AM

The reason(s) for the required correction(s) is as follows:

   *      PDF has an incorrect case caption. Please refer to the Local Rules and file an amended pleading or file it
          in the correct case immediately. The following caption item(s) are incorrect/missing:
          *     Hearing Date or Time, Hearing will be set




Dated: 8/23/22


                                                              Mary A. Schott
                                                              Clerk of Court



           For additional information, please visit the court's web site at https://www.nvb.uscourts.gov
